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                     UNITED STATES DISTRICT COURT

                         DISTRICT OF NEW JERSEY
                            TRENTON DIVISION



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                                      vs


                            KASHEEF MCCALLA
                                Defendant.




             APPLICATION FOR MODIFICATION OF SENTENCE

              PURSUANT TO 18 U.S.C. SECTION 3582 (c) (1) (A) (i)

                         AS A RESULT OF COVID-19




                         Kasheef McCalla # 63523-050
                                FCI Fort Dix
                                P. 0. Box 2000

                           Joint Base MDL, NJ 08640




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                                PRELIMINARY STATEMENT

       In light of the extreme danger posed by COVID-19, KasheefMcCalla (hereinafter the

Defendant) submits the instant application under 18 U.S.C. Section 3582 (c) (1) (A) (i) to request

that the Court decrease Petitioner's sentence by 20 months (from 120-month to 100-month),

which will cause him to be immediately transferred from his place of confinement at FCI Fort

Dix, P. 0. Box 2000, Joint Base MDL, NJ 08640 to home confinement. The Defendant is

serving the last 20 months of his 120-month sentence and is waiting on designation to a halfway

house in the New Jersey for sometimes in June 2020.

       The Federal Correctional Institution, Fort Dix (FCI Fort Dix) is a low-security United

States federal prison for male offenders in New Jersey. It is operated by the Federal Bureau of

Prisons. A satellite prison camp houses minimum-security male inmate. FCI Fort Dix is located

in Burlington County on Joint Base McGuire-Dix-Lakehurst. It is approximately 40 miles (64

km) from Philadelphia. Fort Dix is the largest single federal prison in the United States in the

number of inmates housed there. l

       The Defendant is presently incarcerated with 2971 other inmates in very close quarters.

The Defendant resides in a unit in a dorm-type room with twelve other inmates and there are six

bunk beds per room. The 350 inmates in the unit shared twenty-one toilets, nine urinals, and

thirteen showers, and neither is cleaned after use. Inmates are issued masks but most do not

wear them and it is not mandatory that they do so.

       If the Defendant is approved for' early home confinement, he will stay at 216 Wegman

Parkway, Jersey City, NJ 07305. The residence has an approved landline phone with the

telephone number of201) 434-2848. The Defendant has made a request to his case manager

concerning early home confinement; and, the case manager denied the request and stated that he



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was not eligible for early home confinement; because his PATTERN score was a low and it

needed to be a minimum. See Exhibit I.

       The Defendant wears his mask because he has a pre-existing medical condition that make

him a prime candidate to catch COVID-19. Last year, the Defendant has an asthma attack and

had to be taken to an outside hospital. Additionally, the Defendant is an only child, but he has a

son and a 7-year old daughter. There have been a few inmates and staff that have tested positive

for the COVID-19. Some of the staff at the institution wears PPE's (gloves and mask), but not

all of them wear protective gear. None of the inmates have been screened for COVID-19 let

alone for a fever or symptoms.

       Since no alcohol is permitted in the facility, there are no alcohol-based hand sanitizers.

While soap is available, the common bathrooms that every inmate is forced to use are not

cleaned any more frequently as a result of the pandemic. Inmates are required to use the

computers and phones to communicate with family and friends, but neither is cleaned regularly.

There is not a separate area in Fort Dix for sick inmates to self-quarantine, so the Defendant is

forced to sleep in a bunk bed right next another inmate and with another inmate on the top bunk

(within 6 feet of him).

       If the Defendant has not already contracted COVID-19 by the time this application is

filed, he is almost certain to contract it within the next few days unless immediate action is taken.

The Defendant is 35 years old. The exigency circumstances caused by this deadly virus present

extraordinary and compelling reasons to take action.

       Accordingly, the Defendant respectfully requests that the Court issue an Order pursuant

to 18 U.S.C. Section 3582 (c) (1) (A) (i) to decrease the Defendant's sentence by twenty (20)




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months so that he may be immediately placed on home confinement to serve the remaining

months of his sentence in home confinement. It may literally save his life, and others.

                                          II. DISCUSSION

        A. LEGAL STANDARD --Pursuant to 18 U.S.C. Section3582 (c) (1) (A) (i), a Court

may modify a term of imprisonment "upon motion of the defendant after the defendant has fully

exhausted all administrative rights to appeal a failure of the Bureau of Prisons to bring a motion

on the defendant's behalf or the lapse of 30 days from the receipt of such a request by the warden

of the defendant's facility, whichever is earlier, may reduce the term of imprisonment ... after

considering the factors set forth in Section 3553 (a) to the extent that they are applicable, if it

finds that- (i) extraordinary and compelling reasons warrant such a reduction." 18 USC

Section 3582 (c) (1) (A) (i).

       B. OFFENSE AND SENTENCE -- On May 18, 2012, the Defendant pied guilty to two

of seven counts of a twenty-two-count Fourth Suirerseding Indictment. Count Three charged

conspiracy to distribute 100 grams or more of heroin, in violation of21 U.S.C. Section 846, 841

(a) (1) and (b) (1) (B); and Count Twenty-One charged possession of a firearm in furtherance on

a drug trafficking crime, in violation of 18 U.S.C. Section 924 (c). On November 4, 2012, the

Defendant was sentenced to consecutive sentences of 60 months on Counts Three and Twenty-

One (total sentence of 120-month) of the Fourth Superseding Indictment.

        C. COVID-19 VIRUS COMPELLS IMMEDIATE REDUCTION OF THE

DEFENDANT'S SENTENCE TO PROTECT HIM AND OTHERS FROM THE

DEADLY VIRUS - The high risk of contracting COVID-19 due to the conditions at F. C. I. Fort

Dix, where the Defendant is currently housed, compels immediate reduction of his sentence by

20 months so that he can be immediately transferred to home confinement. The circumstances



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created by COVID-19 present "extraordinary and compelling reasons" that "warrant such a

reduction." 18 USC Section 3582(c) (1) (A) (i).

        As of April 10, 2020, at 6:30 am., COVID-19 has infected over 475,873 people in the

United States, leading to at least 17,820 deaths. By the time the Court reviews this application

that number will have significantly increased. New Jersey has not seen the confirmed cases and

death as its sister state of New York, but New Jersey has 54,588 confirmed cases with 1932

deaths as of April 10, 2020. Fort Dix has had a few confirmed cases of COVID-19 and there

will be several more cases, because, it is impossible to have "social distancing" in the cramp

quarters in which the Defendant are confined.

        The Centers for Disease Control and Prevention (CDC) shows that nearly 40% of

patients hospitalized from coronavirus were 20 to 54 years old. Everybody must take every

necessary action to protect vulnerable populations and the community at large. Conditions at

Fort Dix create the ideal environment for the transmission of the contagious disease. Residents

cycle in and out of the prison from all over the nation, and people who work in the facilities

leave and return daily, without screening. According to public health experts, incarcerated

individuals "are at special risk of infection, given their living situations," and "may also be less

able to participate in proactive measures to keep themselves safe;" "infection control is

challenging in these settings." 1

        Attorney General William Barr issued a memo which outlined eligibility for early home

confmement. Barr's memo specified what the BOP should consider in making its decisions:




1"Achieving A Fair and Effective COVID-19 Response: An Open Letter to Vice-President Mike
Pence, and Other Federal, State, and Local Leaders from Public Health and Legal Experts in the
United States," (March 2, 2020).
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       • inmate's age and vulnerability to COVID-19 under Centers for Disease Control and
       Prevention (CDC) guidelines;

       • The inmate's security level, with priority given to inmates residing in low and
       minimum-security facilities;

       • The inmate's conduct in prison, with inmates who have engaged in violent or gang-
       related activity in prison or who have incurred a BOP violation within the last year not
       receiving priority treatment;

       • The inmate's PATTERN score, with inmates who have anything above a minimum
       score not receiving priority treatment;

       • Whether the inmate has a "demonstrated and verifiable re-entry plan that will prevent
       recidivism and maximize public safety, including verification that the conditions under
       which the inmate would be confined upon release would present a lower risk of
       contracting COVID-19 than the inmate would face in his or her BOP facility;" and

       • The inmate's crime of conviction, and assessment of the danger posed by the inmate to
       the community.

       The Defendant is 35 years old and a first-time non-violent offender. The Defendant has a

pre-existing health issue -- he suffered from asthma which he used an inhaler and wheelzer daily

to help with his breathing. The Defendant has taken and completed several courses, classes, and

seminars that should help him to fmd gainful employment once he is released and the COVID-19

is resolved. The Defendant is a low-security inmate with clear conduct. He is not a member of

any gangs and he has not engaged in any violent conduct.

       The current pandemic caused by the spread of COVID-19 gives rise to serious concerns

for those serving the remainder of their sentences at camps or halfway houses. COVID-19

spreads mainly between people who are in close contact with one another (within about 6 feet)

through respiratory droplets produced when an infected person coughs or sneezes. Individuals

who contract the virus may not show symptoms for 10-12 days, but they are still contagious

during that time and may infect others with whom they interact. This "asymptomatic


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transmission" makes the virus unusually dangerous as carriers can be unaware of their own

infection. It is for this reason that given our lack of any cure or vaccine, social distancing is the

only method by which to slow the spread of COVID-19.

        Social distancing and staying at home are particularly vital because studies suggest that

coronaviruses (including preliminary information on the COVID-19 virus) may persist on

surfaces for a few hours or up to several days. "According to a recent study published in the

New England Journal of Medicine, SARS-CoV-2, the virus that causes COVID-19, can live in

the air and on surfaces between several hours and several days. The study found that the virus is

viable for up to 72 hours on plastics, 48 hours on stainless steel, 24 hours on cardboard, and 4

hours on copper. It is also detectable in the air for three hours. Hence, the rapid spread of

COVID-19 can result from fomites (objects or material that are likely to carry infections), such

as elevator buttons, restroom taps, and clothes.

        Some federal judges have begun taking action in light of the extraordinary danger

inmates face in BOP facilities. On March 18, 2020, Judge N~than reversed her prior

denial of bail, citing the high risk of COVID-19 infection in jails: [S]ince the March 6 hearing,

the unprecedented and extraordinarily dangerous nature of the COVID-19 pandemic has become

apparent. United States v. Stephens, No. 15-cr-95 (AJN), 2020 US Dist LEXIS 47846, at *3-5

(SDNY Mar. 18, 2020). See, e.g., United States v. Raihan, No. 20-cr-68 (BMC) (JO), Dkt. No.

20 at 10:12-19 (E.D.N.Y. Mar. 12, 2020) (deciding to continue a criminal defendant on pretrial

release rather than order him remanded to the Metropolitan Detention Center due, in part, to the

Magistrate Judge's recognition of the fact that "[t]he more people we crowd into that facility, the

more we're increasing the risk to the community").




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       The conditions for residents of Fort Dix create a grave risk of exposure to COVID-19.

The inmates are not allowed to use any alcohol-based hand sanitizers, which is currently the

most effective way to sanitize hands and surfaces. On a daily basis, the Defendant is forced to

have interactions in close proximity with 350 inmates housed in his unit and with several staff

members that rotate from the camp, to the Low-security Federal Correctional Institution (where

2729 inmates are housed) thereby increasing his risk of being infected. The Defendant's

exposure to this deadly virus is a virtual certainty. Unquestionably, the risk of transmission to

and from the Defendant is exponentially greater at Fort Dix than ifhe served the remainder of his

sentence on home confmement. These risks are especially serious because the Defendant has a

pre-existing health-related issue. And, therefore more vulnerable to suffering from severe

symptoms and death ifhe contracts COVID-19.

       Home confinement for the Defendant will promote "social distancing" that saves lives by

reducing transmission. By permitting the Defendant to move to home confmement 20 months

earlier, the risk that the Defendant will contract COVID-19 from other inmates, many of whom

are currently sick (likely with COVID-19), is eliminated.

       Finally, the Defendant is willing to implement any additional measures deemed

necessary to reassure the Court and the Bureau of Prisons of his whereabouts and compliance

with his sentence, including, but not limited to, continuing to be fmancially responsible for his

"subsistence fees" at the RRC (halfway house) and wearing an ankle monitor.

       Accordingly, the Defendant respectfully requests this Honorable Court to reduce the

Defendant's sentence by 20 months so that he may be immediately placed by the BOP in home

confinement.




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         D. EXHAUSTION SHOULD BE EXCUSED AS FUTILE AND BECAUSE DOING

 SO WILL CAUSE IRREPARABLE INJURY -- Due to the recent enactment of 18 U.S.C.

 Section 3582 (c) (1) (A) (i) as part of the First Step Act, there is virtually no case law interpreting

 the exhaustion requirement. However, in general, "[e]xhaustion of administrative remedies is

 required 'for three reasons: (1) allowing the appropriate agency to develop a factual record and

 apply its expertise facilitates judicial review; (2) permitting agencies to grant the relief requested

 conserves judicial resources; and (3) providing agencies the opportunity to correct their own

 errors fosters administrative autonomy."' Moscato v FBOP, 98 F.3d 757, 761-62 (3 rd Cir. 1996).

        Courts, however, have excused exhaustion when it would not promote these goals. See,

 e.g. Gambino v. Morris, 134 F.3d 156, 171 (3d Cir. 1998) (Roth, J., concurring) (exhaustion

 excused upon petitioner showing futility); Carling v. Peters, No. Civ. A 00-CV-2958, 2000 U.S.

 Dist. LEXIS 10288, WL 1022959, at *2 (E.D. Pa. July 10, 2000) (exhaustion excused where

 delay would subject petitioner to irreparable injury);" and, Lindsay v. Williamson, 2007 US Dist.

 LEXIS 54310, at *6-7 (MD Pa 2007). Additionally, Courts have found that, despite the

 exhaustion requirement, they may issue Ord~rs under the above circumstances, "because the

 exhaustion doctrine is based upon comity and not jurisdiction", Williams v. James, 770 F Supp

 103, 106 (WDNY 1991) (citing Wheeler v. Kelly, 639 F. Supp. 1374, 1377 (E.D.N.Y. 1986),

 aff'd, 811 F.2d 133 (2d Cir. 1987)).

        Additionally, several federal appellate courts, in interpreting a different portion of~ 8

 U.S.C. Section 3582 (c) have held that the language of that subsection is non-jurisdictional.

 United States v. Taylor, 778 F.3d 667, 671 (7th Cir. 2015) ("[Section] 3582 is not part of a

 jurisdictional portion of the criminal code but part of the chapter dealing generally with

 sentences of imprisonment. .. [n]or is subsection (c) phrased injurisdictional terms."); see also



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 United States v. Calton, 900 F.3d 706,711 (5th Cir. 2018) (citing United States v. Caraballo-

 Martinez, 866 F.3d 1233, 1243 (11th Cir. 2017); United States v. Anderson, 772 F.3d 662,667

 (11th Cir. 2014); United States v. Beard, 745 F.3d 288, 291 (7th Cir. 2014); United States v.

 Trujillo, 713 F.3d 1003, 1005 (9th Cir. 2013); see also United States v. Green, 886 F.3d 1300,

 1306 (10th Cir. 2018).

        Accordingly, subsection (c) should not be understood to impose jurisdictional

 requirements. While prior cases governing compassionate release under earlier versions of the

 statute may create an ongoing requirement that defendants request that the BOP file

 compassionate release motions before filing on their own, the waiting period cannot be

 understood as a jurisdictional requirement. Here, we submit that the Court may Order the

 requested sentence modification without requiring the Defendant to exhaust his administrative

 remedies because exhaustion would be futile and because it would cause irreparable injury as

 discussed above.

                                           ill. CONCLUSION

        For the foregoing reasons, the Defendant respectfully requests this Honorable Court to

 modify the Defendant's sentence by 20 months so that he will be immediately placed on home

 confinement. The Defendant submits that this is the appropriate and humane approach to dealing

 with this pandemic and the global emergency of this magnitude.

        Dated: ; /   1:1-~o



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                                                            FCI Fort Dix
                                                            P. 0. Box 2000
                                                            Joint Base MDL, NJ 08640



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